Case 21-22489-CMB         Doc 15-1 Filed 12/08/21 Entered 12/08/21 14:41:13                         Desc
                           Certificate of Service Page 1 of 1
                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE: Jerry W. Wilson                                 BK NO. 21-22489 CMB
                                      Debtor(s)
                                                           Chapter 7
    VILLAGE CAPITAL & INVESTMENT,
    LLC
                          Movant
              vs.

    Jerry W. Wilson
                                      Debtor(s)

    Jeffrey J. Sikirica,
                                      Trustee

                        CERTIFICATE OF SERVICE
    NOTICE OF DEBTOR’S REQUEST FOR FORBEARANCE DUE TO THE COVID-
                             19 PANDEMIC
    I, Brian C. Nicholas of KML Law Group, P.C., certify that I am, and at all times hereinafter
    mentioned was, more than 18 years of age and that on December 8, 2021, I served the above
    captioned pleading, filed in the proceeding on the parties at the addresses shown below;

    Debtor(s)                                              Attorney for Debtor(s)
    Jerry W. Wilson                                        Christopher M. Frye, Esq.
    643 Davidson Drive                                     707 Grant Street, Suite 2830 (VIA ECF)
    Verona, PA 15147                                       Pittsburgh, PA 15219

                                                           Trustee
                                                           Jeffrey J. Sikirica
                                                           121 Northbrook Drive (VIA ECF)
                                                           Pine Township
                                                           Gibsonia, PA 15044


Method of Service: electronic means or first class mail

Dated: December 8, 2021

                                                           /s/Brian C. Nicholas Esquire
                                                           Brian C. Nicholas Esquire
                                                           Attorney I.D. 317240
                                                           KML Law Group, P.C.
                                                           BNY Mellon Independence Center
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